       Case 2:09-cv-02432-JWL-GLR Document 1 Filed 08/17/09 Page 1 of 12




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF KANSAS

KIMBERLY WILKINSON               )
Plaintiff,                      )      No. 09-2432 JWL/GLR
                                )
     vs.                        )      VERIFIED COMPLAINT
                                )
FREDERICK J. HANNA and ASSOCIATES P.C. )
     Defendant.                 )

                                    VERIFIED COMPLAINT

       COMES NOW the Plaintiff, KIMBERLY WILKINSON (“Plaintiff”), by and through her

attorneys, KROHN & MOSS, LTD., and for Plaintiff’s Complaint against Defendant, FREDERICK

J. HANNA and ASSOCIATES, alleges and affirmatively states as follows:

                                        INTRODUCTION

       1.      The United States Congress has found abundant evidence of the use of abusive,

deceptive, and unfair debt collection practices by many debt collectors, and has determined that

abusive debt collection practices contribute to the number of personal bankruptcies, to marital

instability, to the loss of jobs, and to invasions of individual privacy. Congress wrote the Fair Debt

Collection Practices Act, 15 U.S.C. 1692 et seq. (hereinafter “FDCPA”), to eliminate abusive debt

collection practices by debt collectors, to insure that those debt collectors who refrain from using

abusive debt collection practices are not competitively disadvantaged, and to promote consistent

State action to protect consumers against debt collection abuses. (15 U.S.C. 1692(a) – (e)).

       2.      Plaintiff, through Plaintiff’s attorneys, brings this action to challenge the actions of

FREDERICK J. HANNA and ASSOCIATES P.C. (hereinafter “Defendant”) with regard to

attempts by Defendant, a debt collector, to unlawfully and abusively collect a debt allegedly owed

by Plaintiff, and this conduct caused Plaintiff’s damage.
       Case 2:09-cv-02432-JWL-GLR Document 1 Filed 08/17/09 Page 2 of 12




        3.       For the purposes of this Petition, unless otherwise indicated, “Defendant” includes

all agents, employees, officers, members, directors, heirs, successors, assigns, principals, trustees,

sureties, subrogees, representatives and insurers of Defendant named in this caption.

                                  JURISDICTION AND VENUE

        4.       Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

such actions may be brought and heard before “any appropriate United States district court without

regard to the amount in controversy.”

        5.       Because Defendant conducts business in the state of Kansas, personal jurisdiction is

  established.

        6.       Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

        7.       Declaratory relief is available pursuant to 28 U.S.C. 2201 and 2202.

                                              PARTIES

        8.       Plaintiff is a natural person who resides in the Lenexa, County of Johnson, State of

Kansas and are obligated or allegedly obligated to pay a debt and is a “consumer” as that term is

defined by 15 U.S.C. 1692a(3).

        9.       Plaintiff is informed and believes, and thereon alleges, that Defendant is a national

company with a business office in Marietta, Cobb County, Georgia.

        10.      Plaintiff is informed and believes, and thereon alleges, that Defendant uses

instrumentalities of interstate commerce or the mails in any business the principal purpose of which

is the collection of any debts, or who regularly collects or attempts to collect, directly or indirectly,

debts owed or due or asserted to be owed or due another and is a "debt collector" as that term is

defined by 15 U.S.C. § 1692a(6).
      Case 2:09-cv-02432-JWL-GLR Document 1 Filed 08/17/09 Page 3 of 12




                                   FACTUAL ALLEGATIONS

       11.      Defendant constantly and continuously places collection calls to Plaintiff seeking

and demanding payment for an alleged debt. (See transcribed voicemail messages attached as

Exhibit A.)

       12.      Defendant called Plaintiff’ cell phone.

       13.      Defendant called from 866-306-8250.

       14.      Defendant called and hung up when Plaintiff answered the phone.

       15.      Defendant failed to state in one subsequent communications that the call is from a

debt collector. (See Exhibit A.)

                                               COUNT I

    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT,
                          (FDCPA), 15 U.S.C. § 1692 et seq.
      19. Plaintiff repeats, reallages and incorporate by reference all of the foregoing

paragraphs.

       20.      Defendant violated the FDCPA. Defendant’s violations include, but are not limited

to the following:

             a. Defendant violated §1692d(5) of the FDCPA by causing a telephone to ring and

                engaging Plaintiff in telephone conversations repeatedly and continuously with the

                intent to annoy, abuse, and harass Plaintiff.

             b. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without

                meaningful disclosure of the caller’s identity by calling Plaintiff and hanging up.
       Case 2:09-cv-02432-JWL-GLR Document 1 Filed 08/17/09 Page 4 of 12




             c. Defendant violated §1692e(10) of the FDCPA because Defendant used false

                representation or deceptive means to collect a debt each time Defendant caller called

                and hung up.

             d. Defendant violated §1692e(11) of the FDCPA by failing to disclose in subsequent

                communications that the communication is from a debt collector.

       21.      As a consequence of Defendant’s foregoing actions, Plaintiff suffered from stress,

anxiety, and humiliation. (See Damages attached as Exhibit B.)

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the Defendant

for the following:

       22. Declaratory judgment that the Defendant’s conduct violated the FDCPA.

       23. Actual damages.

       24. Statutory damages pursuant to the FDCPA 15 U.S.C. 1692k.

       25. Costs and reasonable attorney’s fees pursuant to the FDCPA, 15 U.S.C. 1692k.

26. Any other relief that this court deems to be just and proper.

Plaintiff designates Kansas City as place of trial.



                                                      RESPECTFULLY SUBMITTED,

                                       By:_/s/ Patrick Cuezze______
                                       [ ] Patrick Cuezze
                                       Attorneys for Plaintiff
                                       Krohn & Moss, Ltd.
                                       120 W. Madison Street
                                       10th Floor
                                       Chicago, IL 60602
                                       (816) 931-0911 (direct)
                                       e-mail: pcuezze@consumerlawcenter.com
       Case 2:09-cv-02432-JWL-GLR Document 1 Filed 08/17/09 Page 5 of 12




                            DEMAND FOR JURY TRIAL

        PLEASE TAKE NOTICE that Plaintiff, KIMBERLY WILKINSON hereby demands trial

by jury in this action.
Case 2:09-cv-02432-JWL-GLR Document 1 Filed 08/17/09 Page 6 of 12
Case 2:09-cv-02432-JWL-GLR Document 1 Filed 08/17/09 Page 7 of 12
Case 2:09-cv-02432-JWL-GLR Document 1 Filed 08/17/09 Page 8 of 12
Case 2:09-cv-02432-JWL-GLR Document 1 Filed 08/17/09 Page 9 of 12
Case 2:09-cv-02432-JWL-GLR Document 1 Filed 08/17/09 Page 10 of 12
Case 2:09-cv-02432-JWL-GLR Document 1 Filed 08/17/09 Page 11 of 12
Case 2:09-cv-02432-JWL-GLR Document 1 Filed 08/17/09 Page 12 of 12
